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                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS




 IN RE: PHARMACEUTICAL                   )   MDL NO. 1456
 INDUSTRY AVERAGE                        )
 WHOLESALE PRICE LITIGATION              )   CIVIL ACTION: 01-CV-12257-PBS
                                         )
 THIS DOCUMENT RELATES TO                )   Judge Patti B. Saris
 U.S. ex rel. Ven-A-Care of the          )
 Florida Keys, Inc. v. Abbott            )   Chief Magistrate Judge Marianne B. Bowler
 Laboratories, Inc.,                     )
 No. 06-CV-11337-PBS


                                 [PROPOSED] ORDER



       This matter came before the Court upon Ven-A-Care of the Florida Keys, Inc.’s

Joinder in the United States Motion to Enlarge Time to Respond to Abbott Laboratories,

Inc.’s Motion to Compel Plaintiffs to Provide an Adequate Response to Interrogatory

No. 7 . Having reviewed the motion and the record in this case, it is hereby

       ORDERED that the motion of Ven-A-Care of the Florida Keys, Inc. is granted.

Ven-A-Care of the Florida Keys, Inc. shall file its response by April 13, 2007.

       DONE AND ORDERED this _________ day of _________________ , 2007, in

Boston, Massachusetts.




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